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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                     CASE NO. 14‐20052‐CR‐MARTINEZ/GOODMAN

   UNITED STATES OF AMERICA,

   vs.

   ROGER BERGMAN,

         Defendant.
   ___________________________________/

                 AMENDED1 REPORT AND RECOMMENDATIONS ON

            COUNSEL’S CJA VOUCHER REQUEST FOR ATTORNEY’S FEES


         On August 6, 2014, court‐appointed defense counsel Terence Lenamon

   (“Counsel”) submitted voucher application FLS 14 1725‐02 with appended time sheets

   requesting $55,841.85 as payment for attorney’s fees and costs pursuant to the Criminal

   Justice Act (the “CJA”). Counsel supplied detailed time entries and a spreadsheet listing

   expenses in support of the application.

         On January 30, 2014, Counsel was appointed to represent Defendant Roger

   Bergman (“Bergman”) pursuant to the CJA, 18 U.S.C. § 3006A. [ECF No. 12]. Following

   his appointment, Counsel submitted a proposed litigation budget for his representation

   of Bergman, estimating that the case would cost $265,720.00, with $137,720.00 of that for



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         The Undersigned is entering an amended Report in order to reference and
   address the first interim payment.
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   attorney’s fees. [ECF No. 57]. On May 23, 2014, Counsel submitted his first interim

   request for CJA compensation in Voucher Application FLS 14 1725. Counsel sought

   payment of $31,867 in fees and costs. Counsel was approved for payment of $32,945.78,

   including $31,655 in attorney’s fees, for work completed between January 31, 2014 and

   May 14, 2014.

         Defendant’s trial lasted six days, beginning July 21, 2014 and concluding on July

   28, 2014. Counsel now seeks $55,841.85 in compensation for his representation of

   Bergman from May 21, 2014 through July 28, 2014. Of that, $55,104.00 is for attorney’s

   fees. The requested amount exceeds the $9,800.00 statutory maximum for attorney’s fees

   in non‐capital felony cases at the trial level under the CJA. Guidelines, Vol. 7A, Chapter

   2, § 230.23.20. United States District Judge Jose E. Martinez referred the voucher

   application to the Undersigned for a Report and Recommendations as to whether the

   requested fees are appropriate. [ECF No. 187].

          Having reviewed the voucher and the pertinent portions of the record, the

   Undersigned respectfully recommends that the voucher request be approved in

   accordance with the opinion below.

   I.    CRIMINAL JUSTICE ACT GUIDELINES

         The    United   States   Judicial   Conference   developed    the   Guidelines   for

   Administering the CJA and Related Statutes (the “Guidelines”) to assist courts in

   applying the provisions of the CJA. See In re Burger, 498 U.S. 233, 234 (1991). The CJA


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   plan for the Southern District of Florida explicitly states that “[p]ayment of fees and

   expenses shall be made in accordance with the provisions of the United States Judicial

   Conferences guidelines for the administration of the Criminal Justice Act.” See CJA

   Plan, Southern District of Florida.

          The CJA provides that an appointed attorney shall be compensated for time

   expended in court and for time “reasonably expended out of court” at the conclusion of

   CJA representation. 18 U.S.C. § 3006A(d)(1). The CJA also provides for payment of

   “expenses reasonably incurred.” Id. The district court, as the body empowered to “fix”

   compensation of CJA‐appointed Counsel, has the statutory authority and discretion to

   determine what is a reasonable expense or use of billable time. 18 U.S.C. § 3006A(d)(5);

   U.S. v. Griggs, 240 F.3d 974 (11th Cir. 2001).

          To recommend a fee exceeding the statutory maximum, the district court must

   first certify that the case involves “complex” or “extended” representation. 18 U.S.C. §

   3006A(d)(3). The court may find a case “complex” if the “legal or factual issues . . . are

   unusual, thus requiring more time, skill and effort by the lawyer than would normally

   be required in an average case.” Guidelines, Vol. 7A, Chapter 2, § 230.23.40(b). A case is

   “extended” if “more time is reasonably required for total processing than the average

   case.” Guidelines, Vol. 7A, Chapter 2, § 230.23.40(c). After certifying that the case is

   either “complex” or “extended,” the district court must determine whether the amount

   sought is necessary to provide Counsel with fair compensation.


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         Additionally, the Guidelines recommend case budgeting for cases that require

   more than 300 attorney hours or $30,000 in attorney’s fees. Guidelines, Vol. 7A, Chapter

   2, § 230.26.10. In such instances, “counsel should submit a proposed initial litigation

   budget for court approval, subject to modification in light of facts and developments

   that emerge as the case proceeds.” Guidelines, Vol. 7A, Chapter 2, § 230.26.20 (emphasis

   added). The case budgeting provision for capital cases also states that “[c]ase budgets

   should be re‐evaluated when justified by changed or unexpected circumstances, and

   should be modified by the court where good cause is shown.” Guidelines, Vol. 7A,

   Chapter 6, § 640.20(f). While the Guidelines implicitly endorse the wisdom of modifying

   the budget due to changed circumstances, there is no explicit requirement for

   submitting modified case budgets.

   II.   BACKGROUND

         A.     Facts of the Case

         Bergman was charged by Indictment with Conspiracy to Commit Health Care

   Fraud and Wire Fraud (Count 1) and Conspiracy to Make False Statements Relating to

   Health Care Matters (Count 2). [ECF No. 3]. The Indictment also charged two co‐

   defendants as part of an eight year conspiracy to defraud the Medicare program of tens

   of millions of dollars. [Id. at 6]. Bergman was a physician’s assistant at a community

   mental health center, where he was accused of accepting bribes and kickbacks to admit

   Medicare beneficiaries he knew did not qualify for partial hospitalization program


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   benefits. [Id. at 6‐7]. Bergman was accused of falsifying patient records in order to make

   it appear as though patients needed, qualified for, and received treatments that they did

   not. [Id.].

           B.    Initial Budget Proposal

           Following his appointment, Counsel submitted a proposed litigation budget,

   estimating the case would cost $265,720.00. [ECF No. 57, p. 8]. The budget proposal was

   based on Counsel’s estimation that he would spend a total of 1252 hours on the case.

   [Id. at p. 5]. Counsel’s initial budget proposal was broken down as follows: 50 hours

   consulting with Bergman at counsel’s office and reviewing relevant material [Id. at p. 4];

   10 hours preparing Bergman to testify at trial [Id.]; 10 hours at motion hearing [Id. at p.

   5]; 80 hours at trial [Id.]; 25 hours interviewing and conferencing with experts,

   investigators and witnesses [Id.]; 1000 hours obtaining and reviewing records [Id.]; and

   75 hours legal research and writing [Id.].

           At a rate of $110 per hour, Counsel estimated fees in the amount of $137,720.00

   (1252 hours x $110) [Id.]. The remaining $128,000.00 included $15,000.00 for an

   Investigator, $45,500.00 for a Medicare Expert, $20,000.00 for a Psychiatrist, $7,500.00 for

   a Jury Consultant, $20,000.00 for a Paralegal, and $65,000.00 in copying costs. [Id. at pp.

   7‐8].

           Counsel submitted the budget ex parte and under seal. [ECF No. 57]. The Motion

   was referred to magistrate Judge Barry Garber [ECF No. 79], who granted it in part,


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   finding that Counsel was authorized to bill 1,150 hours at $110 per hour for his associate

   attorney, Melissa Ortiz, while billing the remaining 102 hours at the current CJA rate

   ($126 per hour according to Guidelines, Vol. 7A, Chapter 2, § 230.16(a)), for a total

   amount that was not to exceed $137,720.00 [ECF No. 93. P. 1]. Counsel was approved

   for further expenses as follows: $15,000.00 for an Investigator, $18,000.00 for a Medicare

   Expert, $7,500.00 for a Psychiatrist, $4,500 for a handwriting expert, and $7,500.00 for a

   Jury Consultant. [Id. at pp. 1‐2].

          C.     First CJA Voucher Request

          On May 23, 2014, Counsel submitted his first interim payment voucher request.

   Counsel’s voucher request sough total payment of $31,867.00 for 2 hours spent in court

   and 287.7 hours spent out of court. The Court’s CJA administrator reviewed the

   voucher and adjusted the payment to $32,945.75, reflecting the inclusion of $1,062.75 in

   copying expenses and an adjustment to the pay rate for a portion of the in‐court hours.

   Ultimately, this first CJA voucher received approval and Counsel was paid this

   adjusted amount.

          D.     Second CJA Voucher Request

          After the completion of Bergman’s trial, Counsel submitted this CJA voucher

   request. Counsel’s voucher request is significantly less than the initially approved

   budget. Counsel seeks $55,841.85 for his representation, which, when added to his

   previous interim payment, is $48,932.40 less than the approved budget. Counsel’s


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   voucher claimed 44.3 hours for time spent in court and 447.7 hours for time spent out of

   court, for a total of 492 hours. He also sought $737.85 in copying expenses.

          E.    Voucher Amount – Administrator’s Review

          The Court’s CJA administrator first reviewed the voucher for compliance with

   the Guidelines and mathematical accuracy.        The administrator did not make any

   changes to the number of in‐court hours, out‐of‐court hours, or expenses, verifying

   Counsel spent 44.3 hours in court for a total cost of $5,577.00, 447.7 hours out‐of‐court

   for a total cost of $49,527.00, and spent $737.85 in copying expenses. Thus, the final

   amount of the voucher after the CJA administrator’s review remained $55,841.85.



   III.   ANALYSIS

          A.    This Case Was Complex

          In order to recommend that the District Court compensate Counsel in an amount

   that exceeds the statutory maximum, I must first find that this case was either complex

   or extended. After reviewing the record, there is no doubt that this case was complex.

   The nature of the case, number of defendants, volume of materials, length of the trial,

   and number of docket entries lead the Undersigned to conclude that the cost of fair

   representation exceeds the statutory maximum. In his Order granting in part the

   Authorization Submission of Proposed Fees, Magistrate Judge Garber already

   determined pre‐trial that the case was of a nature that warranted fees that exceeded the



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   CJA cap, and while the fees requested came in under budget, there is nothing to suggest

   that the matter was not as complex as predicted.

            B.    In‐Court Hours

            Counsel sought compensation for 44.3 in‐court hours. The CJA administrator

   reviewed the request without making changes. Given the length of the trial, I find this

   amount to be reasonable. I recommend Counsel be paid the full $5,577.00 for his in‐

   court hours.

            C.    Out‐of‐Court Hours and Expenses

            Counsel sought 447.7 hours for time spent out of court. The CJA administrator

   reviewed this amount without making any changes. Given the complex nature of this

   case, I have no doubt that Counsel spent the amount of time he requests working on

   this case. Accordingly, I find that all of Counsel’s time entries are appropriate. Thus, in

   the absence of other factors, Counsel should receive $49,527.00 for 447.7 out‐of‐court

   hours.

            Having reviewed Counsel’s request for copying expenses, totaling $737.85, the

   Undersigned finds the request to be reasonable given the document‐heavy nature of

   this case. Thus, Counsel should be compensated $737.85 for “Other Expenses.”




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      IV.      CONCLUSION

            For the reasons stated above, the Undersigned respectfully recommends that

   counsel be paid $55,841.85 as fair and final compensation for his work on this case

   during the period covered by this voucher request.

      V.       OBJECTIONS

            In accordance with 28 U.S.C. § 636(b)(1) and Local Magistrate Rule 4(b), the

   parties shall have fourteen (14) days from receipt of this Report and Recommendations

   to serve and file any written objections with the Honorable Jose E. Martinez, United

   States District Judge. Any party may respond to another party’s objections within (7)

   days after being served with the objection. Failure to file timely objections waives a

   party’s right to review issues related to the defendant’s plea under Federal Rule of

   Criminal Procedure 11 before the District Judge or the Court of Appeals (even under a

   plain error standard). See Fed. R. Crim. P. 59(b)(1), (2), cited in United States v. Lewis, 492

   F.3d 1219, 1222 (11th Cir. 2007) (en banc).

            RESPECTFULLY       RECOMMENDED,            in   Chambers,     in   Miami,    Florida,

   November 3, 2014.




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   Copies furnished to:
   All Counsel of Record
   Hon. Jose E. Martinez




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